Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 1 of 22 Page ID #:5927



  1   ESTHER G. BOYNTON (124072)
  2   9100 Wilshire Boulevard
      Seventh Floor, West Tower
  3   Beverly Hills, California 90212
  4   Telephone: (310) 274-8201
      Facsimile: (310) 274-2330                                                 m
  5                                                                             o

  6   Attorney for Plaintiffs
  7
  8
  9                             UNITED STATES DISTRICT COURT
 10                        CENTRAL DISTRICT OF CALIFORNIA
 11                                                 ' 0 2-6717
 12   CRAIG ARTHUR HUMPHRIES and                    Case No. :
      WENDY DAWN ABORN HUMPHRIES,                    SACV 0 3-0697 JVS
 13
                                                    COMPLAINT FOR DAMAGES
 14                      Plaintiffs,
                                                    AND INJUNCTIVE R E L I E F
 15
            vs.                                     Violation of Civil Rights
 16                                                 42U.S.C. § 1983
 17   LOS ANGELES COUNTY; LEROY D.
      BACA, Los Angeles County Sheriff;             DEMAND FOR JURY TRIAL
 18   MICHAEL L. WILSON individually and
 19   in his official capacity as a Detective
      and/or Deputy of the Los Angeles County
 20   Sheriffs Department, CHARLES T.
 21   ANSBERRY individually and in his
      official capacity as a Detective Of the LOs
 22   Angeles County Sheriffs Department,
 23   BILL LOCKYER, Attorney General of
      the State of California, and DOES 1
 24   through 10,                                         ENTERED ON iCMS
 25
 26                      Defendants.                             «US3OaQ02
 27
 28         Plaintiffs allege as follows:
                                                         cv
                                     1
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 2 of 22 Page ID #:5928




  1 dh^ol MO QM3'Wi^ \                              0B/27/2CK£ 4:05;00 PM Receipt »: ^1958
                                                           Cashier : BBELLfiMY [Lfl 1-13 „ , „
                                                    Paid by: ESTHERsTBrayN,ftTTORNEYfiTLfl
                                                    U
                                                    2:CV0e-06717      5 - Filing Fee CivilU)
                                                    2002-0B6300
                                                    flaount :
                                                    £:CV02-067i7     11 - Special Fund F/F(l)
                                                    2002-510000
                                                    Aisount :
                                                    Qieck Payaent :
                                                    Total Payiaent :                   Its
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 3 of 22 Page ID #:5929



  1                             L JURISDICTION AND VENUE
  2          1.    Plaintiffs bring this action for damages and injunctive relief pursuant to
  3   42 U.S.C. § 1983 , to redress the deprivation of rights secured to them by the First,
  4   Fourth, Fifth and Fourteenth Amendments to the United States Constitution; this
  5   Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343. Plaintiffs also append
  6   state law claims, over which this Court has jurisdiction pursuant to 28 U.S.C. § 1367.
  7         2.     Venue is proper in this judicial district under 28 U.S.C. § 1391(b)
  8   because a substantial part of the events or omissions giving rise to plaintiffs' claims
  9   occurred in this district, and because all of the defendants reside in, maintain offices
 10   in, or are responsible for enforcing laws relevant to this litigation in this district.
 11                           I L INTRODUCTORY STATEMENT
 12         3.     Based on false allegations generated and receivedfromUtah, and
 13   without actively or properly investigating those allegations, the Los Angeles County
 14   Sheriffs Department ("LASD") arrested and incarcerated plaintiffs, Mr. and Mrs.
 15   Humphries, on felony charges of torture and cruelty to a child. LASD thereupon
 1^   seized plaintiffs' children (then ages 11 and 17) and took them into "protective
 1^   custody" - without a warrant to do so, and in the absence of any evidence or probable
 ^^    cause to believe that these children were at risk of abuse or neglect.
 19          4.    LASD' s wrongfiil arrest of plaintiffs and seizure of their children
 20   prompted further, horrible events. Los Angeles County detained the children and
 21   placed them in a foster home; petitioned to have the children declared dependents of
 22   the juvenile court; and filed a criminal complaint against plaintiffs.
 23          5.    Ultimately the juvenile court found the allegations of abuse to be untrue
 24   and dismissed the dependency petition; the children were returned to plaintiffs'
 25   custody; and all criminal charges against plaintiffs were dismissed. Nevertheless,
 26
      LASD has reported plaintiffs for listing as child abusers in the Child Abuse Central
 27
      Index ("CACI" or "Index"), the child abuse registry operated by the California
 28
      Department of Justice ("DOJ"). Plaintiffs' CACI records "index," and point third
                                    _2
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 4 of 22 Page ID #:5930



  1   parties to, LASD's file of the false allegations and prejudicial reports on plaintiffs
 2    that triggered this ordeal.
 3          6.      Defendants have failed and refused to provide any opportunity or means
 4    for plaintiffs to inspect, correct, challenge or reverse the Index records about them.
  5   Meanwhile, these CACI records and the LASD files they "index" are accessible by a
 6    broad array of other persons and agencies, for their use in making decisions of
  7   fundamental importance to plaintiffs, such as whether the Humphries (or either of
  8   them) are fit to hold certain licenses, certificates, jobs or positions; to be adoptive
  9   parents or guardians; or to retain custody of their own children.
 10         7.     Plaintiffs bring this action to seek damages for the injuries and
 11   deprivations of rights that they have suffered from defendants' wrongful policies and
 12   conduct, and to stop defendants from perpetuating and disclosing wrongful and
 13   stigmatizing information about plaintiffs and their children
 14                                    i n . THE PARTIES
 15          8.    Plaintiffs CRAIG ARTHUR HUMPHRIES ("Mr. Humphries") and
 16   WENDY DAWN ABORN HUMPHRIES ("Mrs. Humphries") are, and were at all
 17   times mentioned herein, husband and wife, living in Los Angeles County. Mrs.
 18   Humphries is, and was at all times mentioned herein, employed as a special education
 19   teacher at a public elementaiy school in Saugus. Mr. Humphries is, and was at all
 20   times mentioned herein, employed as an executive at a company in the Santa Clarita
 21   Valley, and for years, was a volunteer soccer coach and basketball coach for his
 22   children's teams.
 23          9.    Defendant LOS ANGELES COUNTY ("COUNTY") is a local
 24   government entity, duly authorized and formed under the laws of the State of
 25   California. The COUNTY comprises, oversees and monitors LASD and other
 26   departments, including the Department of Children and Family Services ("DCFS").
 27          10.   Defendant LEROY D. BACA ("BACA") is, and was at all times
 28   mentioned herein, the duly elected Sheriff of the COUNTY, responsible for
        -• -     -           .       3
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 5 of 22 Page ID #:5931



  1   supervising and managing the operations, and setting and implementing the customs
 2    and policies, of LASD. Defendant BACA is sued in his official capacity.
 3          11.   Defendant MICHAEL L. WILSON ("WILSON") is, and was at all times
 4    mentioned herein, employed by the COUNTY within the LASD. During the events
  5   of 2001 described in this complaint, defendant WILSON was a detective assigned to
  6   the Lancaster, California satellite office of LASD's Family Crimes Bureau.
  7   Defendant WILSON is sued in his individual capacity and in his official capacity.
  8         12.   Defendant CHARLES T. ANSBERRY ("ANSBERRY") is, and was at
  9   all times mentioned herein, employed by the COUNTY within the LASD. During
 10   the events of 2001 described in this complaint, ANSBERRY was a Detective in the
 11   LASD Family Crimes Bureau office in Lancaster, California. Defendant
 12   ANSBERRY is sued in his individual capacity and in his official capacity.
 13         13.   Defendant BILL LOCKYER ("ATTORNEY GENERAL") is, and was at
 14   all times mentioned herein, the duly elected ATTORNEY GENERAL of California
 15   (the "State"). The ATTORNEY GENERAL directs and controls DOJ and is
 16   responsible for the operations of the Index. The ATTORNEY GENERAL'S duties
 17   include, without limitation, the enforcement of California's statutes in a manner that
 18   does not violate any provision of the United States Constitution or the California
 19   Constitution. The ATTORNEY GENERAL is sued in his official capacity.
 20         14.   The true names and capacities of defendants DOES 1 through 10 are
 21   unknown to plaintiffs, who therefore bring this action against said defendants by
 22   such fictitious names. Plaintiffs will seek leave to amend their complaint to show the
 23   true names and capacities of these defendants when ascertained.
 24         15.   Plaintiff is informed and believes and thereon alleges that each of the
 25   defendants is responsible in some manner for the events and happenings referred to
 26   herein and was the legal cause of injury and damages to plaintiff as herein alleged.
 27         16.   In committing the acts and omissions herein described, defendants and
 28   each of them, separately and/or in concert, have been and are acting under color of
                               • ,   4
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 6 of 22 Page ID #:5932



  1   the statutes, ordinances, regulations, customs, policies and usages of the State of
 2    California and/or the County of Los Angeles.
 3                                 IV. STATEMENT OF FACTS
 4          17.       Plaintiffs live in Valencia, California, with their daughter (referred to
 .5   herein as "J.A."), bom September 23,1989, and Mrs. Humphries' son from a
  6   previous marriage (referred to herein as "C.E."), bom May 1, 1983.
  7         18.       Mr. Humphries also has a teenage daughter from a previous marriage
  8   (referred to herein as "S.H.") who, until the summer of 2000, lived in Utah with her
  9   mother and successive stepfathers.
 10         19.       In or about July, 2000, S.H. was exhibiting behavioral difficulties, and
 11   came to live with the Humphries on a one-year, trial basis. Plaintiffs lovingly
 12   incorporated S.H. into their family life: they attended to her needs; encouraged her to
 13   partake in family, church, extracurricular and social activities; endeavored to help her
 14   achieve academic success; and provided her with care and stmcture.
 15         20.       At or about 1:30 a.m. on March 18, 2001 (a Sunday), after babysitting at
 16   another home, S.H. came back to plaintiffs' house and took one of plaintiffs' cars,
 17   without plaintiffs' knowledge or consent. S.H. was then 15 years old and not
 18   licensed to drive.
 19         21.       Thereafter on March 18, 2001, S.H. drove plaintiffs' car from Valencia,
 20   Califomia, to the home of S.H.'s mother's and stepfather in Utah. Plaintiffs are
 21   informed and believe and thereon allege that S.H. did so with the aim of retuming to
 22   live in Utah.
 23         22.       Plaintiffs are informed and believe and thereon allege that, from and
 24   including March 19, 2001, to and including April 3, 2001, unbeknownst to plaintiffs,
 25   S.H. reported to a police officer and others in Utah that plaintiffs had physically
 26   and/or mentally abused S.H. from December 2000 through mid-March, 2001.
 27         23.       Plaintiffs are informed and beheve and thereon allege that, unbeknownst
 28   to plaintiffs, (a) defendant WILSON and/or other LASD employees received reports
                                     5
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 7 of 22 Page ID #:5933



  1 from a Utah police department, betyveen about March 26 and April 10, 2001, alleging
 2    plaintiffs had abused S.H.; and (b) on or about April 10, 2001, WILSON spoke by
 3    phone to S.H. in Utah, who told WILSON that plaintiffs had abused her (and only
 4    her). WILSON knew, when he spoke to S.H., that she was 15 years old and not
 5    licensed to drive, had stolen plaintiffs' car, and had driven it to Utah.
 6          24.    A reasonable person would have recognized that (a) having stolen
 7    plaintiffs' car and driven it hundreds of miles without a driver's license, S.H. had
  8   reason to fabricate allegations that plaintiffs had abused her; (b) S.H.'s allegations
  9   should not be accepted as reliable without further inquiry to determine their truth or
 10   falsity; and (c) S.H.'s allegations did not constitute probable cause for arresting or
 11   prosecuting plaintiffs.
 12         25.    S.H.'s allegations of abuse were false, and the reports based thereon
 13   were and are unfounded. Plaintiffs never abused S.H. or any other child.
 14         26.    Neither defendant WILSON nor any other LASD employee made any
 15   reasonable inquiry or investigation of S.H.'s allegations. Plaintiffs are informed and
 16   believe and thereon allege that WILSON relied on or recited S.H.'s false and suspect
 17   allegations to obtain warrants for plaintiffs' arrest.
 18         27.    LASD has compiled the false and unfounded allegations and reports
 19   receivedfromUtah, together with related records created by WILSON, ANSBERRY,
 20   and/or other COUNTY employees under one LASD report number, assigned to both
 21   of plaintiffs ("URN Number"); this LASD compilation is referred to hereinafter as
 22   the "LASD Reports."
 23         28.    Plaintiffs were unaware, prior to April 16, 2001, that any agency had
 24   received or investigated any report or allegation that plaintiffs or either of them had
 25   committed child abuse.
 26         29.    On the moming of April 16, 2001, defendants WILSON and/or
 27   ANSBERRY arrested Mr. Humphries at his place of business in Valencia, Califomia,
 28   and transported him to the school in Saugus where Mrs. Humphries was teaching a
                    •                6
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 8 of 22 Page ID #:5934



  1   group of students. Defendant WILSON and/or ANSBERRY went into the school
  2   and arrested Mrs. Humphries, and then transported plaintiffs to the Santa Clarita
  3   Sheriffs Station. Plaintiffs were booked on felony charges under Penal Code
  4   sections 206 (torture) and 273a(a) (cruelty to a child). Bail for each of them was set
  5   at one million dollars - an amount outrageously beyond plaintiffs' reach.
  6   Plaintiffs were subsequently incarcerated at the Los Angeles County Jail in
  7   downtown Los Angeles.
  8         30.    Prior to plaintiffs' arrest, no COUNTY or LASD or COUNTY employee
  9   had interviewed plaintiffs, C.E., J.A., S.H.'s neighbors, teachers, treating physicians,
 10   school nurse, counselors or fiiends, or any person in this State with regard to S.H.'s
 11   allegations of abuse. LASD's purported investigation into this matter was
 12   incomplete and ineffective, as it was based on a pre-judged conclusion that the
 13   Humphries were guilty, and that no fiirther investigation was necessary.
 14         31.    On April 16, 2001, after plaintiffs had been booked, WILSON and/or
 15   LASD dispatched a Sheriffs pafrol car and a uniformed LASD peace officer, who
 16   seized J.A. and C.E. at their respective schools, and transported them to the Santa
 17   Clarita Sheriffs Station; LASD thus took the children into "protective custody"
 18   without a warrant or court Order. WILSON had ample time to obtain a warrant and
 19   failed to do so, electing instead to remove the children without judicial authorization.
 20         32.    At the time of the warrantless seizure of J.A. and C.E., neither WILSON
 21   nor any other COUNTY or LASD employee had probable cause to believe that J.A.
 22   and C.E. were in imminent danger of serious bodily injury, or were at risk of any
 23   abuse or neglect.
 24         33.    WILSON questioned C.E. and J.A. at the Santa Clarita Sheriff s Station
 25   on April 16, 2001. Neither child said that plaintiffs had ever abused or mistreated
 26   them. Later that aftemoon, a DCFS worker, Jimi Corona, came to the Sheriffs
 27   Station and took custody of C.E. and J.A. based on WILSON's and/or ANSBERRY's
 28   assessment of the situation, and without any independent investigation. C.E. and J.A.
                                     7
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 9 of 22 Page ID #:5935



  1   were detained in a foster home, with persons who were strangers to them.
  2   Defendants failed to advise plaintiffs that DCFS had taken custody of their children,
  3   or that a written statement was available, explaining plaintiffs' procedural rights and
  4   the preliminary stages of a dependency investigation and hearing, as required under
  5   Welfare and Institutions Code §§ 307.4(a) and 308(a).
  6         34.       On or about April 17, 2001^ WILSON prepared several reports with
  7   respect to this matter. In one of these documents, labeled a "supplemental report,"
  8   WILSON stated inter alia that J.A. and C.E. were taken into "protective custody as
  9   there would not be any responsible adult to care for their safety and needs at home."
 10   In fact, however, plaintiffs would have been able to arrange for a responsible adult to
 11   care for J.A. and C.E. in plaintiffs' absence, but no LASD, DCFS or other COUNTY
 12   employee allowed plaintiffs any opportunity to do so.
 13         35.       Also, on or about April 17,2001, without notice to plaintiffs, WILSON
 14   executed an application, requesting that the COUNTY file a petition to have J. A. and
 15   C. E. declared dependent children of the juvenile court.
 16         36.       Plaintiffs are informed and believed and thereon allege that, on or about
 17   April 17, 2001, without notice to plaintiffs, WILSON and/or other LASD employees
 18 filled in one or more DOJ "child abuse investigation report" forms (DOJ form SS
 19   8583) identifying the Humphries as known or suspected child abusers, and that
 20   WILSON and/or LASD thereafter sent the completed form or forms to DOJ for entry
 21   in the Index.
 22         37.       Plaintiffs are informed and believe and thereon allege that, within such
 23   SS 8583 report form or forms, WILSON and/or other LASD employees named
 24   plaintiffs as child abuse "suspects." Such report or reports on plaintiffs are
 25   unfounded, and contain false, prejudicial and stigmatizing information. Plaintiffs are
 26   informed and believe, and thereon alleges, that such information was entered into and
 27   remains in the Index, and that plaintiffs' Index records identify plaintiffs URN
 28   Number, thus indexing the LASD Reports as the underlying investigation file.
                                     8
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 10 of 22 Page ID #:5936



  1   These Index listings have attach a badge of infamy to plaintiffs, and have altered
  2   plaintiffs' status under the laws of this State.
  3          38.   On April 18, 2001, the COUNTY filed a misdemeanor complaint in the
  4   Los Angeles County Municipal Court, Newhall Judicial Disfrict, charging plaintiffs
  5   with violations of Penal Code sections 273d(a) (corporal injury to child), and
  6   273a(b), (cmelty to child). The complaint was based essentially on the allegations
  7   S.H. had made. Bail for each plaintiff was reduced to $12,500. Plaintiffs were
  8   released on bail later that day, and returned to their home in Valencia.
  9          39.   Plaintiffs are informed and believe, and thereon allege, (a) that WILSON
 10   and/or other LASD officers presented the District Attomey with information they
 11   knew or should have known to be false; (b) that WILSON and/or other LASD
 12   officers caused or pressured the District Attomey to file criminal charges against
 13   plaintiffs, contrary to the prosecutor's judgment; and/or (c) that the District Attomey
 14   knew, or in the exercise of minimal diligence, should have known, that the charges
 15   against plaintiffs were not well founded.
 16          40.   The arrest and criminal prosecution of plaintiffs - when even slight
 17   diligence would have shown there could be no conviction - constituted want of
 18   probable cause and disregard for plaintiffs' rights.
 19          41.    On or about April 19, 2001, pursuant to WILSON's application
 20   (described in paragraph 35 above), DCFS filed a dependency petition in Los Angeles
 21   County Juvenile Court with regard to J.A. and C.E., alleging charges against
 22   plaintiffs under Welfare and Institutions Code sections 300(a)(serious physical
 23   harm), 300(b)(failure to protect), 300(i) (cmelty), and 300(j) (abuse of sibling).
 24          42.   As of April 18, 2001, plaintiffs were no longer incarcerated ,and there
 25   was no probable cause to believe that retuming J.A. and C.E. to plaintiffs' care and
 26   custody would subject the children to any substantial harm. Nevertheless, DCFS
 27   continued to detain the children in foster care, and did not allow them to retum to
 28   their parents' care and custody until on or about April 26, 2001.
                                     9
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 11 of 22 Page ID #:5937



  1         43.    On or after May 24, 2001, plaintiffs each received by mail a letter from
  2   defendant BACA and LASD, postmarked May 23,2001 (collectively, "Letters").
  3   Among Other things, the Letters notified plaintiffs, for thefirsttime, that LASD had
  4   "completed an investigation of suspected child abuse" in which plaintiffs were
  5   named as a suspects; that "this information has been reported to [DOJ] and will be
  6   maintained in the Child Abuse Central Index;" and that if plaintiffs believe the report
  7   is "unfounded" or that they have "been incorrectly listed and desire a review," they
  8   should address their request to LASD's Family Crimes Bureau, "CACI Review" in
  9   Whittier. The Letters' subject lines identified plaintiffs'URN Number.
 10         44.    At the time they received the Letters, plaintiffs still were involved in
 11   criminal proceedings and dependency proceedings.
 12         45.    On or about June 12, 2001, the juvenile court dismissed the allegations
 13   of the dependency petition as "not tme," and ordered that J. A. remain with plaintiffs.
 14   C.E. had already been dismissedfromthe dependency action (on or about May 1,
 15   2001), because he had reached the age of eighteen.
 16         46.    The criminal charges against plaintiffs were dismissed by Municipal
 17   Court order "in furtherance of justice" pursuant to Penal Code section 1385 on
 18   August 29, 2001.
 19         47.    In early May, 2002, plaintiffs sought to obtain LASD's review and
 20   reversal of their Index listings. LASD advised plaintiffs (through their counsel) that
 21   (a) there was and is no LASD procedure by which plaintiffs may seek LASD's
 22   review of its decision to have plaintiffs listed in the Index (despite the Letters'
 23   contrary indications); (b) even though the dependency proceedings and the criminal
 24   proceedings against plaintiffs were dismissed, LASD will not presently agree to the
 25   deletion of plaintiffs' Index listings; and (c) unless plaintiffs seek and obtain a
 26   judicial finding of factual innocence, LASD will not advise DOJ to remove plaintiffs'
 27   Index listings.
 28   //
                                     10
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 12 of 22 Page ID #:5938



  1         48.   Plaintiffs are informed and believe and thereon allege that, at all times
  2   mentioned herein, it has been the COUNTY'S and/or LASD's policy or custom:
  3               A.     to overlook facts that exonerate parents accused of child
  4         abuse, neglect, to weigh the evidence improperly, to conduct inadequate
  5         and incomplete investigations, and consequently, to conclude,
  6         erroneously, that parents have abused their children;
  7               B.     to remove children from the custody of their parents
  ^         without a Waitant, without adequate investigation, and without probable
  ^         cause to believe that the children are at imminent risk of substantial
            physical injury, or of any abuse or neglect;
 11               C.     in situations where LASD arrests and ihcafcerates parents
 12         on charges of child abuse or neglect, to place those parents' children in
 13         foster care with strangers, and not to allow the parents themselves any
 14         opportunity to arrange for a responsible adult to care for the children in
 15         the parents' absence;
 16
                  D.     to complete and submit to DOJ a "child abuse investigation
 17
            report" (DOJ form SS 8583) for entry in the Index, (1) without
 18
            conducting an active investigation, (2) without applying the mandatory
 19
            procedures and definitions of Penal Code sections 11165.12(a) and
 20
            11169; and (c) without giving the individuals named as "suspects" any
 21
            opportunity to be heard, at anytime,with respect to the foundation,
 22
            validity, lawfulness or accuracy of such report; and
 23
                  E.     to refuse to advise DOJ to remove any Index listing that is
 24
            based on a report submitted by LASD, unless and until the "suspecf
 25
            named in such report seeks and obtains a judicial finding of factual innocence.
 26
            49.   Plaintiffs are informed and believe, and thereon alleges, that in
 27
      committing the acts and omissions alleged above, defendants BACA, WILSON,
 28

                                     11
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 13 of 22 Page ID #:5939



  1    ANSBERRY and/or COUNTY or LASD employees DOES 1-5 were acting in
  2    conformity with those policies and customs of the COUNTY and LASD described
  3    in paragraph 48, and that these acts and omissions violate plaintiff's statutory and
  4    constitutional rights as set forth below.
  5          50.    On or about May 10, 2002, Mr. and Mrs. Humphries each sent a written
  ^    request to DOJ, asking DOJ to provide him or her, inter alia, (a) with notice of
  ^    whether DOJ maintains any Index-related records about him or her; (b) exact copies
  ^    of all records maintained by DOJ, relating to any Index record pertaining to him or
  9    her; and (c) an accurate accounting of the date, nature and purpose of each disclosure
 10    by DOJ of any Index-related information pertaining to him or her.
 11          51.    On or about June 14, 2002, the ATTORNEY GENERAL mailed the
 12    Humphries each a letter, dated June 13, 2002 ("AG Letters"). The AG Letters
 13    contain identical text, and respond only to plaintiffs' inquiry as to whether or not
 14    they are listed in the Index. The AG Letters notified the Humphries that DOJ's
 15    search of the Index, using the names and other identifiers provided in the Humphries'
 16    written request, "resulted in a possible match with the suspect of a child abuse
 1^    investigation report submitted by" LASD, dated April 17, 2001. The AG Letters
 1^    also identify a report number, which matches the Humphries' URN Number.
             52.    The AG Letters indicate DOJ contacted LASD "to verify the availability
 20    of [LASD's] reports and that the reports submitted were not unfounded," and instmct
 21    the Humphries to "direct any questions or concerns" to LASD.
 22          53.    The AG Letters make no mention of plaintiffs' requests for Index-
 23    related records or an accounting of Index record disclosures, nor has DOJ or the
 24    ATTORNEY GENERAL provided plaintiffs with any of the items specified in the
 25    Humphries' requests.
             54.    None of the defendants has notified plaintiffs of, or allowed plaintiffs to
 2'7   inspect or correct, either the contents of any "child abuse investigation report" about
 28    them which LASD submitted to DOJ, or the Index records that DOJ createdfromany
                             :        12
       COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 14 of 22 Page ID #:5940



  1    such report; and defendants have denied plaintiffs any hearing opportunity to
  2    challenge LASD's report to, or any listing about them in, the Index.
  3          55.     On May 23, 2002, Mr. and Mrs. Humphries each presented a claim for
  4    damages to the Los Angeles County Board of Supervisors (collectively, "Claims"), in
  5    full or substantial compliance with the California Tort Claims Act, Government
  6    Code section 810 et seq. Each Claim was presented with the respective plaintiff's
  '7   Application for Leave to Present "Late" Claim ("Application"); the second
  8    paragraph of each Application stated as follows:
  ^                  In making this application, [plaintiff] does not waive, and hereby
 10           expressly maintains, that [s/he] has only recently discovered some facts
              that are critical to the Claim; the Claim asserts continuing damages and
 ^^            injuries; and the Claim is timely presented.
 ^2    (Italics in original)
              56.    On or about June 6, 2002, the COUNTY mailed a letter in response to
 ^4    Mrs. Humphries's Claim and Application. On or about June 7, 2002, the COUNTY
       mailed a letter in response to Mr. Humphries' Claim and Application. The COUNTY
       advised Mr. and Mrs. Humphries, respectively, that the Application was denied, and
       that "this is not a rejection of your claim; it is only a denial of the application for
 ^8    leave to present a late claim."
              57.    Plaintiffs allege that their Claims were timely presented, and that such
       Claims were denied by operation of law on July 7, 2001, i.e., the date 45 days after
       plaintiffs presented the Claims.
 22                     IV. CHILD ABUSE CENTRAL INDEX SYSTEM
 2^           58.    Initially created by State legislation in 1965, the Index is now
 24    established under the Child Abuse and Neglect Reporting Act ("CANRA"), Penal
 25    Code § 11164 et seq.
 2^           59.    The Index is a system of records that includes reports received and
 2^    maintained by DOJ, computerized enfries created by DOJ, and records prepared by
 28    DOJ for disclosure to persons or entities who request CACI information.
                       ^              13
       COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 15 of 22 Page ID #:5941



  1          60.    The computerized component of the Index is also known as the
  2    Automated Child Abuse System ("ACAS"). DOJ derives its ACAS entries from
  3    untested information that local law enforcement and social services agencies enter on
  4    POJ "child abuse investigation report" forms (currently, "SS 8583" forms) ^ and send
  5    to DOJ by mail, fax, or electronic transmission. Plaintiffs are informed and believe
  6    and thereon allege that the Index holds personal infofmation on approximately two
  7    million or more "suspects," "victims" and "others" who have been named in child
  8    abuse investigation reports submitted to DOJ from across the State.
  ^          61.    Penal Code § 11169(a) mandates, in pertinent part, that an agency
 10    "shall not forward a report to [DOJ] unless it has conducted an active investigation
 11    and determined that the report is not unfounded, as defined in Section 11165.12."
       Penal Code § 11165.12(a) defines "unfounded report" as
 ^•^         a report which is determined by the investigator who conducted the
 14          investigation [1] to be false, [2] to be inherently improbable, [3] to
             involve an accidental injury, or [4] not to constitute child abuse, as
 15          defined in Section 11165.6.
 16          62.    Penal Code § 11169(a) also mandates, in pertinent part, that "[i]f a
 17    report has previously beenfiledwhich subsequently proves to be unfounded, [DOJ]
 18    shall be notified in writing of that fact and shall not retain the report." However,
 19
       CANRA does not provide any procedure for an individual to seek or obtain an
 20
       agency's review of its classification of a report, or to seek review of reversal of any
 21
       Index information.
 22
             63.    Penal Code § 11169(b) mandates, in pertinent part, as follows:
 23
             At the time an agency specified in Section 11165.9 forwards a report in
 24          writing to the Department of Justice pursuant to subdivision (a), the '
 25          agency shall also notify in writing the known or suspected child abuser
             that he or she has been reported to the Child Abuse Central Index. The
 26          notice required by this section shall be in a form approved by [DOJ].
 27
             64.    Index record information is accessible by a wide range of third parties
 28
       under Penal Code §§ 11167.5, 11170, 11170.5 and 11170.6, including investigative
           , ,^      -                         14
       COMPLAINT FOR                  AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 16 of 22 Page ID #:5942
                                          ^   •   9   *   1




  1    agencies inside and outside Califoniia, licensing agencies, employment screening
  2    agencies, public and private adoption agencies, and others. Indeed, under Califomia
  3    law, applicants for various licenses, certificates, jobs or voluntary positions involving
  4    contact with children must be screened through the Index, and the screening agency
  5    must deny the sought-after license, certificate, job or position if the agency
  6    determines (unilaterally) that a CACI-listed report on the applicant or employee is
  7    "substantiated."
  8          65.    Pursuant to CANRA, various third parties who obtain CACI information
  9    from DOJ are "responsible" for obtaining the original investigative report from the
 10    reporting agency to decide whether the listed child abuse incident is "substantiated."
 11          66.    Accordingly, licensors, certification agencies, employers and others who
 12    have access to plaintiffs' CACI records are directed to review the false and
 13    misleading LASD Reports pertaining to plaintiffs, and based on those false and
 14    misleading records, to decide - unilaterally and extrajudicially - whether the child
 15    abuse accusation against plaintiffs was "substantiated."
  16         67.    Further, persons or entities who receive Index informationfromDOJ
 17    may, in turn, pass it on to additional third parties. For example, the Califomia
  18   Department of Social Services ("DSS") obtains Index information for purposes of
  19   licensing and certification. On information and belief, DSS maintains the policy and
 20    practice of disclosing Index data to other agencies, including but not limited to the
 21    Califomia Commission on Teacher Credentialing.
 22          68.    Thus, plaintiffs may be denied employment, certification, registration,
 23    licenses or permission to adopt a child, based upon the employers' and/or agencies'
 24    receipt of Index data and assessment of the LASD Reports.
 25                             V. STATEMENT OF DAMAGES
 26          69.    As a direct and proximate result of the incidents and deprivations of
 27    rights alleged in this complaint, plaintiffs have sustained injuries and damages
 28    including, but not limited to, pain, suffering, injuries to their bodies, damage to
                         ,            15
       COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 17 of 22 Page ID #:5943



  1    familial relations, severe emotional distress, fear, anxiety and humiliation, all to
  2    their general damage in an amount according to proof.
  3           70.    As a further direct and proximate result of the incidents and
  4    deprivations of rights alleged in this complaint, plaintiffs have suffered loss of
  5    income, and have incurred attorneys' fees, expenses for medical and psychological
  6    care and other incidental expenses, all to their special damage in an amount
  7    according to proof.
  8           71.    The injuries to plaintiff and the violations of plaintiffs statutory and
  9    constitutional rights stemming from the acts and omissions of defendants, as alleged
 10    herein, are continuous and ongoing.
 11           72.    More particularly, but without limitation, plaintiffs' registration in the
 12    Index has caused and causes great and continuous damage to plaintiffs' familial
 13    relations and integrity, to their personal and professional reputations, and to their
 14    emotional state; has impaired Mrs. Humphries' ability to retain her certification as a
  15   teacher in California, and to achieve additional teaching certificates; and has
  16   prevented plaintiffs from participating in teaching, tutoring, coaching and other
  1^   activities.
              73.    Plaintiffs have incurred, and will continue to incur, reasonable
       attomey's fees and costs in bringing and maintaining this action, and plaintiffs are
 20    entitied to such fees and costs pursuant to 42 U.S.C. § 1988.
 21                                         VI. CLAIMS
 22                                  FIRST CAUSE OF ACTION
 23          DAMAGES FOR VIOLATIONS OF U.S. CONSTITUTIONAL RIGHTS
 24                                        42 U.S.C. § 1983
 25                       (Against defendants COUNTY, BACA, WILSON,
 26                                  ANSBERRY and DOES 1 -5)
 2^           74.    Plaintiffs incorporate by reference the foregoing paragraphs of this
 2^    complaint as though fully set forth herein.
                                      16
       COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 18 of 22 Page ID #:5944



  1          75.     Defendants WILSON, ANSBERRY, BACA and DOES 1-5, and in
  2   conjunction defendant COUNTY acting under its policies and customs, and each of
  3   them, acting under color of state law, have subjected plaintiffs, or have caused
  4   plaintiff to be subjected, to the deprivation of certain rights, privileges and
  5   immunities to which plaintiffs are entitied under the First, Fourth, Fifth, Sixth,
  6   Ninth, and Fourteenth Amendments to the U.S. Constitution, including but not
  7   limited to :
  8          (a)     the right to substantive due process of law;
  9          (b)     the right to procedural due process of law;
 10          (c)     the right to be free from unlawful searches and seizures;
 11
             (d)     the right to be free from malicious prosecution;
 12
             (e)     the right to be informed of the nature and cause of the criminal
 13
                     accusations against them;
 14
             (f)     the right to be free from unreasonable interference with parent-child
 15
                     relationships;
 16
             (g)     the right to be free from arbitrary intmsions on plaintiffs' physical and
 17
                     emotional well-being; and
 18
             (h)     the right to privacy.
 19
             76.     As a direct and proximate cause of the acts complained of herein,
 20
      plaintiffs have suffered general and special damages as set forth in this complaint.
 21
                                      SECOND CAUSE OF ACTION
 22
      INJUNCTIVE RELIEF FOR VIOLATIONS OF U.S. CONSTITUTIONAL RIGHTS
 23
                                             42 U.S.C. § 1983
 24
                          (Against defendants COUNTY, BACA, WILSON,
 25
                             ANSBERRY and ATTORNEY GENERAL)
 26
             77.     Plaintiffs incorporate by reference the foregoing paragraphs of this
 27
      complaint as though fully set forth herein,
 28
      //
           ^                         17
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 19 of 22 Page ID #:5945



   1         78.    The ATTORNEY GENERAL and DOJ maintain, and at all times
  2    mentioned herein have maintained, the policies and customs of (a) entering and
  3    retaining in, and disclosingfrom,the CACI, purported child abuse information that
  4    has never been substantiated by any court of law or adjudicating body; (b) refusing to
  5    delete any information, data and/or recordfromthe CACI unless the very agency that
  6    submitted the underlying "child abuse investigation report" notifies DOJ that the
  7    report is or was "unfounded"; (c) prohibiting the reported personsfromhaving access
  8    to, knowing the contents of, or inspecting any information, data and/or record on
  9    them maintained in the CACI; (d) failing to allow persons listed in the CACI to
  10   correct or supplement any CACI information, data and/or record pertaining to them;
  11   and (e) failing to provide CACI-listed individuals with any means to challenge the
  12   accuracy or validity of Index data that DOJ maintains on them. The ATTORNEY
  13   GENERAL has applied, and continues to apply, these policies to plaintiffs.
  14         79.    In doing the acts and applying the policies and customs complained of
  15   herein, the ATTORNEY GENERAL, acting under color of state law, has subjected
  16   plaintiffs, or has caused plaintiffs to be subjected^ to the deprivation of certain rights,
  17   privileges and immunities to which plaintiffs are entitled under the United States
  18   Constitution, including but not limited to rights of privacy, substantive due process
  1^   and procedural due process.
 2^          80.      Plaintiffs are suffering irreparable injury as a result of the acts and
 21    omissions of defendants, and each of them, as alleged in this complaint.
 22          81.    Plaintiffs are without a plain, speedy and adequate remedy at law.
 2-3         82.    Plaintiffs are living under constant fear and restriction of their liberty, as
 24    a result of being listed in the Index. They are preventedfromapplying for
 25    certificates, jobs and positions, and/orfromundertaking certain activities that involve
 2^    contact with children, for fear that doing so will trigger a CACI background search,
 2^    and in tum, will cause the dissemination of their false and stigmatizing Index listings
 28    and the related LASD Reports.
                                      18       ^
       COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 20 of 22 Page ID #:5946



  1         83.     Plaintiffs are entitied to injunctive relief to (a) compel the ATTORNEY
  2   GENERAL to permit plaintiffs to inspect and challenge their Index records;
  3   (b) compel BACA, WILSON and/or ANSBERRY, on behalf of LASD and the
  4   COUNTY, to notify DOJ in writing that the report or reports about plaintiffs that
  5   LASD submitted for registry in the Index are unfounded, so that DOJ will delete
  6 from the Index, and no longer retain, any and all records pertaining to plaintiffs; and
  7   (c) enjoin the ATTORNEY GENERAL and DOJfromretaining in and disclosing
  8 from the Index any information pertaining to plaintiffs.
  9                                THIRD CAUSE OF ACTION
 10                DENIAL OF RIGHT OF PRIVACY - ART. I, § 1, CA. CONST.
 11                                   (Against all defendants)
 12         84.     Plaintiffs incorporate by reference the foregoing paragraphs of this
 13   complaint as though fully set forth herein.
 14         85.     Plaintiffs have a legally protected privacy interest in information
 15   pertaining to them, contained in any Index records and related reports about them,
 16   including but not limited to a legally protected interest in being afforded a reasonable
 17   check on the accuracy of that information. It was and is reasonable for plaintiff to
 18   expect that defendants will preserve and not violate this privacy interest.
 19         86.     Defendants'maintenance of false and unfounded Index information on
 20   plaintiffs, and defendants' refusals to provide plaintiff with any access to, or any
 21   procedure to check, correct, amend or dispute, the Index-related records about
 22   plaintiffs, have invaded and continue to invade plaintiffs privacy interests in a non-
 23   trivial, significant way.
 24          87.    The acts and omissions of defendants and each of them, alleged herein,
 25   constitute a violation of Article I, section 1 of the Califomia Constitution, which
 26   protects individuals in this State from invasion of privacy.
 27         88.     By reason of the wrongful acts and omissions of defendants, and each of
 28   them, plaintiff has suffered a loss of his constitutional privacy rights, causing him to
                                     19                              :
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 21 of 22 Page ID #:5947



  1   sustain great and continuous emotional distress, damage to his familial relations and
  2   other damages, in an amount to be proven at trial.
  3                                         PRAYER
  4         WHEREFORE, plaintiffs pray for relief as follows:
  5         1.    For general, special and compensatory damages according to proof;
  6         2.    For a preliminary and continuous injunction, ordering
  7                (a) tiie ATTORNEY GENERAL to permit plaintiffs to inspect and
  8   challenge their Index records;
  9                (b) BACA, WILSON and/or ANSBERRY, on behalf of LASD and the
 10   COUNTY, to notify DOJ in writing that the report or reports about plaintiffs that
 11   LASD submitted for registry in the Index are unfounded, so that DOJ will delete
 12 from the Index, and no longer retain, any and all records pertaining to plaintiffs; and
 13               (c) tiie ATTORNEY GENERAL to refrainfromretaining in and
 14   disclosingfromthe Index any information pertaining to plaintiffs.
 15         3.    For reasonable attomeys'fees;
 16         4.    For costs of suit; and
 17         5.    For such other and further relief as this Court may deem just and proper.
 18   DATED: August 27, 2002                ESTHER G. BOYNTON
 19
 20                                         By:
 21                                                Esther G. ^yoyn
                                            Attomey for plaint:
 22
 23
 24
 25
 26
 27
 28
                                                20
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
Case 8:03-cv-00697-JVS-MAN Document 1 Filed 08/27/02 Page 22 of 22 Page ID #:5948



  1                            DEMAND FOR TRIAL BY JURY
  2         Plaintiffs hereby demand a trial by jury of all issues in this case triable by jury.
  3
  4   DATED: August 27, 2002                 ESTHER G. BOYNTON
  5
  6                                           By:
                                                     Esther Boynpn
  7                                           Attomey for plaintiffs
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28

                                     21
      COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
